     Case 2:08-cr-00390-GEB Document 201 Filed 07/31/12 Page 1 of 2


 1 DAVID W. DRATMAN
   Attorney at Law
 2 State Bar No. 78764
   1007 7th Street, Suite 305
 3 Sacramento, California 95814
   Telephone: (916) 443-2000
 4 Facsimile: (916) 443-0989
   Email: dwdratman@aol.com
 5
 6 Attorney for Defendant
   TUY NGUYEN
 7
 8                            UNITED STATES DISTRICT COURT
 9                          EASTERN DISTRICT OF CALIFORNIA
10
11
     UNITED STATES OF AMERICA,                          Cr. S-08-0390 GEB
12
                            Plaintiff,                  STIPULATION AND
13                                                      [PROPOSED] ORDER FOR
                   vs.                                  CONTINUING JUDGMENT
14                                                      AND SENTENCING
     TUY NGUYEN, et al.,
15
                            Defendants.
16
17         IT IS HEREBY STIPULATED between the United States of America, through its

18 attorney of record, Michael M. Beckwith, Assistant U.S. Attorney; and, Tuy Nguyen, through
19 his attorney, David W. Dratman; that the Judgment and Sentencing scheduled for August 3,
20 2012, be continued to August 31, 2012 at 9:00 a.m.
21   Dated: July 30, 2012                    /s/ David W. Dratman
                                             DAVID W. DRATMAN
22                                           Attorney for Defendant
                                             TUY NGUYEN
23
24 Dated: July 30, 2012                      BENJAMIN B. WAGNER
                                             UNITED STATES ATTORNEY
25
26                                           By: /s/ Michael M. Beckwith
                                                MICHAEL M. BECKWITH
27                                              Assistant U.S. Attorney
                                                *Signed with permission
28

         STIPULATION AND [PROPOSED] ORDER FOR CONTINUING JUDGMENT AND SENTENCING
     Case 2:08-cr-00390-GEB Document 201 Filed 07/31/12 Page 2 of 2


 1                                     ORDER
 2        It is so ordered.
 3 Dated: July 30, 2012
 4
 5
 6                                   GARLAND E. BURRELL, JR.
                                     Senior United States District
 7                                   Judge

 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

        STIPULATION AND [PROPOSED] ORDER FOR CONTINUING JUDGMENT AND SENTENCING
                                         -2-
